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                                       Judge Wilson's 2024–26 Case Management Calendar
Trial list: Status        Fact         Dispositive motions     Affirmative     Responsive   Supplemental      Expert discovery Motions in limine   Pretrial Memoranda,       Pre-trial     Jury
            conference:   discovery    and suporting briefs:   expert reports: expert       expert reports:   deadline:        and supporting      proposed voir dire, and   conference:   selection
                          deadline:                                            reports:                                        briefs:             jury instructions:                      and trial:
Jan-24    5/24/2023       6/30/2023    7/31/2023               7/31/2023       9/1/2023     9/15/2023         10/13/2023       11/8/2023           12/6/2023                 12/20/2023    1/8/2024
Feb-24    6/28/2023       7/31/2023    8/31/2023               8/31/2023       10/6/2023    10/20/2023        11/17/2023       12/6/2023           1/3/2024                  1/17/2024     2/5/2024
Mar-24    7/26/2023       8/31/2023    9/29/2023               9/29/2023       11/3/2023    11/17/2023        12/15/2023       1/10/2024           2/7/2024                  2/21/2024     3/4/2024
Apr-24    8/23/2023       9/29/2023    10/31/2023              10/31/2023      12/1/2023    12/15/2023        1/12/2024        2/7/2024            3/6/2024                  3/20/2024     4/1/2024
May-24    9/27/2023       10/31/2023   11/30/2023              11/30/2023      1/5/2024     1/19/2024         2/16/2024        3/6/2024            4/3/2024                  4/17/2024     5/6/2024
Jun-24    10/25/2023      11/30/2023   12/29/2023              12/29/2023      2/2/2024     2/16/2024         3/15/2024        4/3/2024            5/1/2024                  5/15/2024     6/3/2024
Jul-24    11/22/2023      12/29/2023   1/31/2024               1/31/2024       3/1/2024     3/15/2024         4/12/2024        5/8/2024            6/5/2024                  6/20/2024     7/1/2024
Aug-24    12/20/2023      1/31/2024    2/29/2024               2/29/2024       4/5/2024     4/19/2024         5/17/2024        6/5/2024            7/3/2024                  7/17/2024     8/5/2024
Sep-24    1/24/2024       2/29/2024    3/29/2024               3/29/2024       5/3/2024     5/17/2024         6/14/2024        7/10/2024           8/7/2024                  8/21/2024     9/9/2024
Oct-24    2/28/2024       3/29/2024    4/30/2024               4/30/2024       6/7/2024     6/21/2024         7/19/2024        8/7/2024            9/4/2024                  9/18/2024     10/7/2024
Nov-24    3/27/2024       4/30/2024    5/31/2024               5/31/2024       7/5/2024     7/19/2024         8/16/2024        9/4/2024            10/2/2024                 10/16/2024    11/4/2024
Dec-24    4/24/2024       5/31/2024    6/28/2024               6/28/2024       8/2/2024     8/16/2024         9/13/2024        10/9/2024           11/6/2024                 11/20/2024    12/2/2024
Jan-25    5/22/2024       6/28/2024    7/31/2024               7/31/2024       9/6/2024     9/20/2024         10/18/2024       11/6/2024           12/4/2024                 12/18/2024    1/6/2025
Feb-25    6/26/2024       7/31/2024    8/30/2024               8/30/2024       10/4/2024    10/18/2024        11/15/2024       12/5/2024           1/2/2025                  1/15/2025     2/3/2025
Mar-25    7/24/2024       8/30/2024    9/30/2024               9/30/2024       11/1/2024    11/15/2024        12/13/2024       1/8/2025            2/5/2025                  2/19/2025     3/3/2025
Apr-25    8/28/2024       9/30/2024    10/31/2024              10/31/2024      12/6/2024    12/20/2024        1/17/2025        2/5/2025            3/5/2025                  3/19/2025     4/7/2025
May-25    9/25/2024       10/31/2024   11/29/2024              11/29/2024      1/3/2025     1/17/2025         2/24/2025        3/5/2025            4/2/2025                  4/16/2025     5/5/2025
Jun-25    10/23/2024      11/29/2024   12/31/2024              12/31/2024      2/7/2025     2/21/2025         3/21/2025        4/9/2025            5/7/2025                  5/21/2025     6/2/2025
Jul-25    11/27/2024      12/31/2024   1/31/2025               1/31/2025       3/7/2025     3/21/2025         4/18/2025        5/7/2025            6/4/2025                  6/18/2025     7/7/2025
Aug-25    12/18/2024      1/31/2025    2/28/2025               2/28/2025       4/4/2025     4/18/2025         5/16/2025        6/4/2025            7/2/2025                  7/16/2025     8/4/2025
Sep-25    1/22/2025       2/28/2025    3/31/2025               3/31/2025       5/2/2025     5/16/2025         6/13/2025        7/9/2025            8/6/2025                  8/20/2025     9/8/2025
Oct-25    2/26/2025       3/31/2025    4/30/2025               4/30/2025       6/6/2025     6/20/2025         7/18/2025        8/6/2025            9/3/2025                  9/17/2025     10/6/2025
Nov-25    3/26/2025       4/30/2025    5/30/2025               5/30/2025       7/3/2025     7/18/2025         8/15/2025        9/3/2025            10/1/2025                 10/15/2025    11/3/2025
Dec-25    4/23/2025       5/30/2025    6/30/2025               6/30/2025       8/1/2025     8/15/2025         9/12/2025        10/8/2025           11/5/2025                 11/19/2025    12/1/2025
Jan-26    5/28/2025       6/30/2025    7/31/2025               7/31/2025       9/5/2025     9/19/2025         10/17/2025       11/12/2025          12/10/2025                12/24/2025    1/5/2026
Feb-26    6/25/2025       7/31/2025    8/29/2025               8/29/2025       10/3/2025    10/17/2025        11/14/2025       12/10/2025          1/7/2026                  1/21/2026     2/2/2026
Mar-26    7/23/2025       8/29/2025    9/3/2025                9/3/2025        11/7/2025    11/21/2025        12/19/2025       1/7/2026            2/4/2026                  2/18/2026     3/2/2026
Apr-26    8/27/2025       9/30/2025    10/31/2025              10/31/2025      12/5/2025    12/19/2025        1/16/2026        2/4/2026            3/4/2026                  3/18/2026     4/6/2026
May-26    9/24/2025       10/31/2025   11/28/2025              11/28/2025      1/2/2026     1/16/2026         2/13/2026        3/4/2026            4/1/2026                  4/15/2026     5/4/2026
Jun-26    10/22/2025      11/28/2025   12/31/2025              12/31/2025      2/6/2026     2/20/2026         3/20/2026        4/8/2026            5/6/2026                  5/20/2026     6/1/2026
Jul-26    11/26/2025      12/31/2025   1/30/2026               1/30/2026       3/6/2026     3/20/2026         4/17/2026        5/6/2026            6/3/2026                  6/17/2026     7/6/2026
Aug-26    12/24/2025      1/30/2026    2/27/2026               2/27/2026       4/3/2026     4/17/2026         5/15/2026        6/3/2026            7/1/2026                  7/15/2026     8/3/2026
Sep-26    1/28/2026       2/27/2026    3/31/2026               3/31/2026       5/1/2026     5/15/2026         6/12/2026        7/8/2026            8/5/2026                  8/19/2026     9/14/2026
Oct-26    2/25/2026       3/31/2026    4/30/2026               4/30/2026       6/5/2026     6/18/2026         7/17/2026        8/5/2026            9/2/2026                  9/16/2026     10/5/2026
Nov-26    3/25/2026       4/30/2026    5/29/2026               5/29/2026       7/2/2026     7/17/2026         8/14/2026        9/9/2026            10/7/2026                 10/21/2026    11/2/2026
Dec-26    4/22/2026       5/29/2026    6/30/2026               6/30/2026       8/7/2026     8/21/2026         9/18/2026        10/7/2026           11/4/2026                 11/18/2026    12/7/2026
